Case 2:17-CV-03904-.]FB-S|L Document 57

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

Filed 01/05/18 Page 1 of 1 Page|D #: 447

 

GOVERNMENT EMPL()YEES lNSURANCE
CGMPANY, GEICO INDEMNITY COMPANY,
GEICO GENERAL INSURANCE COl\/IPANY
and GEICO CASUALTY COl\/IPANY,

Plaintiffs,

-against-

ELITE MEDICAL SUPPLY OF NEW YORK, LLC,

GARY NlKlEL,
The “Elite Defendants”
-and-

JOHN WARD, D.C., WALTER MENDOZA, D.C.,

Case No.: l7-cv-03904
(JFB)(SIL)

STIPULATION
To EXTEND
M_T`_Q_AI\I_SY.V_E_R

TODD GOLDMAN, D.C., GEOFFREY GERCW. D.C.,
HSIYEN-Yl LU, D.C., BERNARD SENGSTOCK, D.C.,
CLEG BARSHAY, D.C., and l\/IICHAEL KIMMEL, D.C.,

The “Chiropractor Defendants”.

X

 

IT IS HEREBY STIPULATED AND AGREED, by and between the attorneys for the
respective parties herein, that the Defendant, Oleg Barshay, D.C.’s (“Defendant Barshay” or

“Defendant”) time to Answer the Complaint is hereby extended from January 5, 2018, up to and

including February 9, 2018. Facsimile and/or e-mail signatures will be deemed as originals for all

purposes hereunder.

Dated: Brooklyn, New York
January 5, 2017

RIVKIN RADLER LLP

ABRAMS, FENSTERMAN, FENSTERMAN,

EISMAN, FORl\/IATO, FERRARA, WOLF
& CARONE, LLP

By tim annum

By:

/s/Mar@£. Turman

 

J lstin Calabrese (JC- 5436)
ean Gorton, Esq.

Attorneysfo) Plaz'nll`j§‘fs

926 RXR Plaza

Uniondale, New York 11556

Tel.: (516) 357-3000

Mark L. Furman (MF-4456)
Attorneysfor Defendcmt UZeg Barshay, D.C.
1 MetroTech Center, Suite 1701
Brooklyn, Nevv York 1 1201
Tel.: (718) 215-5300

